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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                 BALTIMORE DIVISION

 National Association of Diversity Officers
 in Higher Education, et al.,

                    Plaintiffs,

         v.
                                                      Civil Action No. 1:25-cv-333-ABA

 Donald J. Trump, in his official capacity as
 President of the United States, et al.,

                    Defendants.


         PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER
                     AND/OR PRELIMINARY INJUNCTION

         Pursuant to Federal Rule of Civil Procedure 65, Plaintiffs National Association of

Diversity Officers in Higher Education, the American Association of University Professors,

Restaurant Opportunities Centers United, and the Mayor and City Council of Baltimore, Maryland,

hereby move for a temporary restraining order and preliminary injunction to prevent Defendants

from causing irreparable harm to Plaintiffs, their members, and thousands of other around the

country before this Court can further consider the merits of this case. As set forth in more detail in

Plaintiffs’ complaint and the brief accompanying this motion, Defendants’ actions violate the

principle of the separation of powers, as well as the First and Fifth Amendments of the U.S.

Constitution.

       Plaintiffs request that the Court issue a temporary restraining order by Tuesday, February

18, 2025, and subsequently issue a preliminary injunction to prevent further irreparable harm.

Since this case was filed on February 3, Defendants have taken steps to implement the

unconstitutional executive orders issued by President Trump. These include a memorandum from
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Defendant Attorney General Bondi 1 calling for civil and criminal investigations, as well as

notifications to federal grantees and contractors requiring them to stop their First Amendment

protected speech at risk of losing federal support and facing civil and criminal liability. Plaintiffs

and their members have already faced funding cuts, have had to chill their speech and advocacy,

and have had to shutter initiatives that are core to their missions. Immediate relief is thus necessary.

         Most Defendants were served with Plaintiffs’ complaint on February 7, 2025, while

Defendants Department of Commerce, National Science Foundation, Panchanathan, and Pelter

were served on February 10, 2025. Pursuant to Federal Rule of Civil Procedure 65(a)(1), at 5:04

PM on February 12 counsel for Plaintiffs emailed the three Assistant Directors for the Federal

Programs Branch of the Department of Justice and provided actual notice that Plaintiffs would file

a motion for a temporary restraining order, seeking immediate relief. Assistant Director Joseph

Borson from the Department of Justice Civil Division responded at 5:59 PM, asking for clarity

about the relief Plaintiffs were seeking. At 9:53 PM, Plaintiffs’ counsel communicated the

temporary relief Plaintiffs would seek to Assistant Director Borson, and Attorneys Pardis Gheibi

and John Griffiths of the Department of Justice. Attorney Gheibi and counsel for Plaintiffs met

and conferred at 2:30 PM on February 13, but were unable to come to an agreement on a proposed

briefing schedule. Plaintiffs believe an urgent and expedited schedule is needed for this matter,

with a hearing no later than Tuesday, February 18.

         Immediately prior to making this application to the Court, Plaintiffs sent electronic copies

of the motion for temporary restraining order and preliminary injunction, and accompanying brief,

declarations, and proposed orders via e-mail to defense counsel.



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  Plaintiffs’ complaint named Acting Attorney General McHenry as a defendant. In light of Attorney General Bondi’s
Senate confirmation and the confirmation of permanent heads of other agency defendants, Plaintiffs will seek to update
the caption of this case under Fed. R. Civ. P. 25(d).

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February 13, 2025                              Respectfully submitted,

                                               /s/ Victoria S. Nugent
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                                               + admission pending


                                               Counsel for Plaintiffs




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                              CERTIFICATION OF SERVICE

       I hereby certify that this document and all attachments, filed through the ECF system, were
also sent electronically via email on February 13, 2025, to counsel for Defendants (notices of
appearance forthcoming):
       Joseph Borson, Joseph.Borson@usdoj.gov
       Pardis Gheibi, Pardis.Gheibi@usdoj.gov
       John Griffiths, John.Griffiths@usdoj.gov




                                                  /s/ Victoria S. Nugent
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